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         Other Orders/Judgments
         1:20-cv-10027-IT Securities and Exchange Commission v. ARO EguitY., LLC et al

                                                    United States District Court

                                                     District of Massachusetts

         Notice of Electronic Filing

         The following transaction was entered on 7/30/2020 at 12:24 PM EDT and filed on 7/30/2020
         Case Name:           Securities and Exchange Commission v. ARO Equity, LLC et al
         Case Number:         1:20-cv-10027-IT
         Filer:
         Document Number: 37(No document attached)

         Docket Text:
         Judge Indira Talwani: ELECTRONIC ORDER entered staying case as to Defendants Timothy
         Allcott and Thomas Renison , pending resolution of criminal matter 20-cr-10109, or further
         court order. Counsel shall file a Status Report by 11/23/2020. (Kelly, Danielle)


         1:20-cv-10027-IT Notice has been electronically mailed to:

         Martin F Healey    healeym@sec.gov, #brodocket@sec.gov

         Eric M. Brooks    brookse@sec.gov

         1:20-cv-10027-IT Notice will not be electron ically mailed to:

         Timothy J. Allcott
         41 Pine Street, # 17
         Peabody, MA O1960




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                                           United States District Court
                                        District of Massachusetts (Boston)
                                  CIVIL DOCKET FOR CASE#: 1:20-cv-10027-IT


        Securities and Exchange Commission v. ARO Equity, LLC et al              Date Filed: 01/08/2020
        Assigned to: Judge Indira Talwani                                        Jury Demand : Plaintiff
        Cause: 12:22 Securities Fraud                                            Nature of Suit: 850
                                                                                 Securities/Commodities
                                                                                 Jurisdiction: U.S. Government Plaintiff

        Plaintiff
        Securities and Exchange Commission                      represented by Franklin C. Huntington , IV
                                                                               Securities and Exchange Commission
                                                                               33 Arch Street
                                                                               23rd Floor
                                                                               Boston, MA 02110
                                                                               617-573-8960
                                                                               Fax: 617-573-4590
                                                                               Email: huntingtonf@sec.gov
                                                                               TERMINATED: 04/24/2020
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED

                                                                                 Eric M. Brooks
                                                                                 Securities and Exchange Commission -
                                                                                 MA
                                                                                 33 Arch Street
                                                                                 23rd Floor
                                                                                 Boston, MA 02110-1424
                                                                                 (617) 573-8816
                                                                                 Email: brookse@sec.gov
                                                                                 ATTORNEY TO BE NOTICED

                                                                                  Martin F Healey
                                                                                  Securities and Exchange Commission
                                                                                  33 Arch Street, 23rd Floor
                                                                                  Boston, MA 02110
                                                                                  617-573-8952
                                                                                  Fax: 617-424-5040
                                                                                  Email: healeym@sec.gov
                                                                                  ATTORNEY TO BE NOTICED


        V.
        Defendant




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        ARO Equity, LLC                                          represented by Kevin J. Kilduff
                                                                                The Law Offices of Kevin Kilduff
                                                                                99 Derby Street, Suite 200
                                                                                Hingham, MA 02043
                                                                                781-556-1040
                                                                                Email: kkilduff@kildufflawpc.com
                                                                                TERMINATED: 03/06/2020
                                                                                ATTORNEY TO BE NOTICED
        Defendant
        Timothy J. Allcott                                       represented by Timothy J. Allcott
                                                                                41 Pine Street, # 17
                                                                                Peabody,MA01960
                                                                                PRO SE

                                                                                 Kevin J. Kilduff
                                                                                 (See above for address)
                                                                                 TERMINATED: 03/06/2020
                                                                                 ATTORNEY TO BE NOTICED

        Defendant
        Thomas D. Renison                                       represented by Thomas D. Renison
                                                                               53 Old Farms Road
                                                                               Glastonbury, CT 06073
                                                                               PRO SE

        Email All Attorneys
        Email All Attorneys and Additional Recipients

        Date Filed          #       Docket Text
        01/08/2020              1 COMPLAINT against THOMAS D. RENISON, TIMOTHY J. ALLCOTT, ARO
                                  EQUITY, LLC (Fee Status: US Government), filed by Securities and Exchange
                                  Commission. (Attachments: # l Civil Cover Sheet, # i Category Form)(Huntington,
                                  Franklin) (Entered: 01/08/2020)
        01/08/2020              2   NOTICE of Case Assignment. Magistrate Judge M. Page Kelley assigned to case.
                                    Plaintiff's counsel, or defendant's counsel if this case was initiated by the filing of a
                                    Notice of Removal, are directed to the Notice and Procedures regarding Consent to
                                    Proceed before the Magistrate Judge which can be downloaded here. These
                                    documents will be mailed to counsel not receiving notice electronically. Pursuant to
                                    General Order 09-3, until the Court receives for filing either a consent to the
                                    Magistrate Judge's jurisdiction or the reassignment of the case to a District Judge, the
                                    initial assignment of a civil case to the Magistrate Judge is a referral to the Magistrate
                                    Judge under 28 USC 636(b) for all pretrial non-dispositive matters and Report and
                                    Recommendations, but not for the Rule 16(b) scheduling conference. (Finn, Mary)
                                    (Entered: 01/08/2020)

        01/08/2020              l   Summons Issued as to TIMOTHY J. ALLCOTT, ARO EQUITY, LLC, THOMAS D.
                                    RENISON. Counsel receiving this notice electronically should download this
                                    summons, complete one for each defendant and serve it in accordance with
                                    Fed.R.Civ.P. 4 and LR 4.1. Summons will be mailed to plaintiff(s) not receiving


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                                   notice electronically for completion of service. (Jones, Sherry) (Entered :
                                   01 /08/2020)
         01/09/2020            4   AMENDED COMPLAINT against All Defendants, filed by Securities and Exchange
                                   Commission.(Huntington, Franklin) (Entered: 01/09/2020)
         01/31/2020            5 ANSWER to 1 Amended Complaint by TIMOTHY J. ALLCOTT.(Kilduff, Kevin)
                                 (Entered : 01/31/2020)
         01/31/2020            6   This document has been STRUCK from the record pursuant to Order 24 .
                                   ANSWER to 1 Amended Complaint by ARO EQUITY, LLC.(Kilduff, Kevin)
                                   Modified on 3/6/2020 (Kelly, Danielle). (Entered: 01/31/2020)
         02/01/2020            7   ELECTRONIC NOTICE TO COUNSEL: Notification forms indicating whether or
                                   not a party has consented to proceed before a U.S. Magistrate Judge have not been
                                   received in the Clerk's Office. The submission of the form is mandatory. Completed
                                   forms shall be filed promptly. Additional forms can be obtained on the Court's web
                                   page at http://www.mad .uscourts.gov. (MacDougall, Patricia) (Entered: 02/01/2020)
         02/04/2020            8   Refusal to Consent to Proceed Before a US Magistrate Judge .. (Huntington,
                                   Franklin) (Entered: 02/04/2020)
         02/04/2020            9   ELECTRONIC NOTICE of RE-Case Assignment. Judge Indira Talwani assigned to
                                   case. If the trial Judge issues an Order of Reference of any matter in this case to a
                                   Magistrate Judge, the matter wi ll be transmitted to Magistrate Judge M. Page Kelley.
                                   (Finn, Mary) (Entered: 02/04/2020)
         02/05/2020          lQ NOTICE of Scheduling Conference: Scheduling Conference set for 3/9/2020 03 :30
                                   PM in Courtroom 9 before Judge Indira Talwani. Counsel for the plaintiff(s) is
                                   responsible for ensuring that all parties and/or their attorneys who have not filed an
                                   answer or appearance with the court are notified of the date of the scheduling
                                   conference. (MacDonald, Gail) (Entered: 02/05/2020)
         02/06/2020           11   AFFIDAVIT OF SERVICE Executed by Securities and Exchange Commission. ARO
                                   Equity, LLC served on 1/21 /2020, answer due 2/11/2020. Acknowledgement filed by
                                   Securities and Exchange Commission. (Huntington, Franklin) (Entered: 02/06/2020)
         02/06/2020           12   AFFIDAVIT OF SERVICE Executed by Securities and Exchange Commission.
                                   Timothy J. Allcott served on 1/15/2020, answer due 2/5/2020. Acknowledgement
                                   filed by Securities and Exchange Commission. (Huntington, Franklin) (Entered:
                                   02/06/2020)
         02/06/2020           13   AFFIDAVIT OF SERVICE Executed by Securities and Exchange Commission.
                                   Thomas D. Renison served on 1/21/2020, answer due 2/11/2020. Acknowledgement
                                   filed by Securities and Exchange Commission. (Huntington, Franklin) (Entered:
                                   02/06/2020)
         02/12/2020           14   MOTION to Withdraw as Attorney by Timothy J. Allcott.(Kilduff, Kevin) (Entered:
                                   02/12/2020)
         02/12/2020          12 MOTION to Strike 6 Answer to Amended Complaint and Withdraw as Counsel by
                                   ARO Equity, LLC.(Kilduff, Kevin) (Entered: 02/12/2020)

         02/14/2020           16   Judge Indira Talwani: ELECTRONIC ORDER: Attorney Kevin Kilduff shall serve
                                   his Motion to Withdraw as Attorney .11 on Defendant Timothy J. Allcott, and his
                                   Motion to Strike Answer to Amended Complaint and Withdraw as Counsel U on
                                   Defendant ARO Eauitv. LLC. See Local Rule 83.5.2(d). Counsel shall also serve a


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                                   copy of this electronic order on both Defendants, and shall promptly file a certificate
                                   of service, including the address used for service. Any opposition to either or both
                                   Motions shall be filed within 14 days after such service.(Kelly, Danielle) (Entered:
                                   02/14/2020)
         03/02/2020           17 NOTICE Resetting a Hearing. Scheduling Conference set for 3/9/2020 03:00 PM in
                                 Courtroom 9 before Judge Indira Talwani. PLEASE NOTE CHANGE TO
                                 EARLIER TIME. (MacDonald, Gail) (Entered: 03/02/2020)
         03/02/2020          ll    CERTIFICATE OF SERVICE pursuant to LR 5.2 by ARO Equity, LLC re 16 Order,,
                                   . (Kilduff, Kevin) (Entered: 03/02/2020)
         03/02/2020          1.2 CERTIFICATE OF SERVICE pursuant to LR 5.2 by Timothy J. Allcott re 16 Order,,
                                   . (Kilduff, Kevin) (Entered: 03/02/2020)
         03/02/2020          20 NOTICE of Appearance by Martin F Healey on behalf of Securities and Exchange
                                Commission (Healey, Martin) (Entered: 03/02/2020)
         03/02/2020          21   STATUS REPORT as called for in the Court's February 5, 2020 Notice of
                                  Scheduling Conference by Securities and Exchange Commission. (Healey, Martin)
                                  (Entered: 03/02/2020)
         03/02/2020          22   NOTICE of Appearance by Eric M. Brooks on behalf of Securities and Exchange
                                  Commission (Brooks, Eric) (Entered: 03/02/2020)
         03/06/2020          23   Judge Indira Talwani: ELECTRONIC ORDER: Attorney Kevin J. Kilduff's Motion
                                  to Withdraw as Counsel 11 for Defendant Timothy J. Allcott seeks to withdraw on
                                  the ground that Defendant Allcott has notified counsel's firm of Allcott's decision to
                                  terminate the Firm's representation of him in this matter and his decision to proceed
                                  on a prose basis. On February 14, 2020, the court directed Attorney Kilduff to serve
                                  on Defendant Allcott the Motion to Withdraw and a copy of the court's electronic
                                  order directing Defendant that any opposition to the motion to withdraw must be
                                  filed within 14 days after such service. Elec. Order 16 . Counsel's Certificate of
                                  Service 1.2 states that counsel served Defendant Allcott with these documents by mail
                                  on February 18, 2020. No opposition having been filed, the Motion to Withdraw as
                                  Counsel 11 is GRANTED. As Defendant Allcott is now proceeding prose, the clerk
                                  shall add Defendant Allcott's address, as set forth in the Certificate of Service 1.2 , to
                                  the docket. (Kelly, Danielle) (Entered: 03/06/2020)

         03/06/2020          24    Judge Indira Talwani: ELECTRONIC ORDER: Attorney Kevin J. Kilduff's Motion
                                   to Strike Answer and Withdraw as Counsel .Ll. for Defendant ARO Equity, LLC,
                                   seeks the requested relief on the ground that Attorney Kilduff s firm was engaged by
                                   Timothy J. Allcott to represent Defendant ARO Equity, LLC, but that Allcott did not
                                   have authority at the time to retain the firm on behalf of Defendant ARO Equity,
                                   LLC. On February 14, 2020, the court directed Attorney Kilduff to serve on
                                   Defendant ARO Equity, LLC, the Motion to Strike Answer and Withdraw as
                                   Counsel, and a copy of the court's electronic order directing Defendant that any
                                   opposition to the motion to withdraw must be filed within 14 days after such service.
                                   Elec. Order 16 . Counsel's Certificate of Service ll states that counsel served
                                   Defendant ARO Equity, LLC, with these documents by mail on February 18, 2020.
                                   No opposition having been filed, the Motion to Strike Answer and Withdraw as
                                   Counsel .Ll. is GRANTED, and the Answer§_ by ARO Equity, LLC, is stricken.
                                   Plaintiff's Affidavit of Service l1. states that Defendant ARO Equity, LLC, was
                                   served on January 21, 2020, such that an Answer is now overdue. In light of the



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                                  mistaken filing of the Answer Q, Defendant ARO Equity, LLC's time to respond to
                                  the Complaint is extended to March 20, 2020. If Defendant ARO Equity, LLC, fails
                                  to appear through counsel by that date, Plaintiff may seek entry of a default. As the
                                  court now has no counsel on the docket for Defendant ARO Equity, LLC, the court
                                  directs Attorney Kevin Kilduff to serve a copy of this order on Defendant ARO
                                  Equity, LLC, and promptly file a certificate of service, including the address used for
                                  service. (Kelly, Danielle) (Entered: 03/06/2020)
        03/06/2020           25   ELECTRONIC NOTICE Canceling Hearing. Scheduling Conference set for
                                  03/09/2020, is canceled and will be reset by the clerk. (MacDonald, Gail) (Entered:
                                  03/06/2020)
        03/12/2020           26   MOTION to Strike The Answer Of Timothy Allcott 2 by Timothy J. Allcott. (Kelly,
                                  Danielle) (Entered: 03/12/2020)
        03/13/2020           27   Judge Indira Talwani: ELECTRONIC ORDER entered DENYING Defendant
                                  Timothy Allcott's Motion to Strike 26 . If Defendant Allcott disagrees with the
                                  content of the Answer 2 filed on his behalf by his prior counsel, Defendant Allcott
                                  may file a motion seeking leave to amend his answer. Any such motion shall include
                                  a copy of the proposed Amended Answer. (Kelly, Danielle) (Entered: 03/13/2020)
        04/23/2020           28   MOTION to Withdraw as Attorney by Frank C. Huntington by Securities and
                                  Exchange Commission.(Huntington, Franklin) (Entered: 04/23/2020)
        04/24/2020           29   Judge Indira Talwani: ELECTRONIC ORDER ALLOWING 28 Motion to
                                  Withdraw as Attorney. Attorney Franklin C. Huntington, IV terminated. (Kelly,
                                  Danielle) (Entered: 04/24/2020)

        06/09/2020           30   STATUS REPORT and Scheduling by Securities and Exchange Commission.
                                  (Healey, Martin) (Entered: 06/09/2020)
        06/10/2020           31   Judge Indira Talwani: ELECTRONIC ORDER: On March 6, 2020, the court granted
                                  Attorney Kildu:trs Motion to Withdraw Ll. as counsel for Defendant ARO Equity,
                                  LLC. See Elec. Order 24 . The court further ordered that: "As the court now has no
                                  counsel on the docket for Defendant ARO Equity, LLC, the court directs Attorney
                                  Kevin Kilduff to serve a copy of this order on Defendant ARO Equity, LLC, and
                                  promptly file a certificate of service, including the address used for service." Id.
                                  Attorney Kilduff has failed to file the certificate of service as directed by the court.
                                  Attorney Kilduff i~ again ORDERED to file a certificate of service of the court's
                                  Electronic Order 24 on ARO Equity, LLC, and to file a certificate of service,
                                  including the address used for service. Failure to comply with this order may result in
                                  sanctions. (Kelly, Danielle) (Entered: 06/10/2020)

        06/11/2020           32   ELECTRONIC NOTICE of Hearing. Telephonic Status Conference set for 7/ 16/2020
                                  03:00 PM before Judge Indira Talwani. Calling instructions will be provided to
                                  counsel by the clerk. (MacDonald, Gail) (Entered: 06/11/2020)

        06/16/2020           33   CERTIFICATE OF SERVICE pursuant to LR 5.2 by ARO Equity, LLC. (Kilduff,
                                  Kevin) (Entered: 06/16/2020)

        07/02/2020           34 NOTICE Resetting a Hearing. Status Conference set for 7/16/2020 is RESET for
                                7/23/2020 02:45 PM before Judge Indira Talwani. This conference will be held
                                telephonically; calling instructions will be provided to counsel by the clerk.
                                (MacDonald, Gail) (Entered: 07/02/2020)




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        07/23/2020         35   Electronic Clerk's Notes for proceedings held before Judge Indira Talwani : Status
                                Conference held on 7/23/2020. Case called. Timothy Allcott and ARO Equity, LLC
                                failed to appear. Case stayed as to Mr. Renison only, pending the resolution of the
                                criminal matter proceeding before Judge O'Toole. Counsel shall file a Status Report
                                by 11/23/2020. An Order to Show Cause will be issued to Mr. Alcott to show cause
                                why he did not participate in today's proceeding. Plaintiff may request default to
                                issue. (Status Report due by 11/23/2020). (Court Reporter: Robert Paschal at
                                rwp.reporter@gmail.com .) (Attorneys present: Eric M. Brooks, Martin F Healey,
                                Thomas D. Renison prose but w/crim counsel Jane Peachy present (20crl0109-
                                GAO)) (MacDonald, Gail) (Entered: 07/24/2020)
        07/28/2020         -36 Letter from Timothy Allcott. (MacDonald, Gail) (Entered : 07/28/2020)
        07/30/2020         37   Judge Indira Talwani : ELECTRONIC ORDER entered staying case as to Defendants
                                Timothy Allcott and Thomas Renison, pending resolution of criminal matter 20-
                                ct-10109, or further court order. Counsel shall filer. Status Report by 11/23/2020.
                                (Kelly, Danielle) (Entered: 07/30/2020)




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